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                                   STATEMENT OF FACTS

        Your affiant, Jeffrey Weeks, is a Special Agent assigned to the Federal Bureau of
Investigation Washington Field Office. In my duties as a Special Agent, I have served as a
supervisory special agent in counterterrorism investigations, and I have training and experience in
interview and interrogation, evidence recovery, and source recruitment. Currently, I am tasked
with investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detention, investigation, or prosecution of a violation of Federal criminal laws.

       The United States Capitol (“the Capitol”) is secured 24 hours a day by United States
Capitol Police (“USCP”) and is located at First Street, S.E., in Washington, D.C. Restrictions
around the Capitol include permanent and temporary security barriers and posts manned by USCP.
Only authorized people with appropriate identification were allowed access inside the Capitol on
January 6, 2021. Further, the exterior plaza of the Capitol was also closed to members of the
public on that day.

        On January 6, 2021, a joint session of the United States Congress convened at the Capitol.
During the joint session, elected members of the United States House of Representatives and the
United States Senate met in separate chambers of the Capitol to certify the vote of the Electoral
College of the 2020 Presidential Election, which took place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, at approximately 1:30 p.m., the House
and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Michael R. Pence was present and presided, first in the joint session, and then in the Senate
chamber.

        As the proceedings continued in both the House and the Senate, a large crowd gathered
outside the Capitol. At such time, the certification proceedings were still underway and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, at
approximately 2:00 p.m., individuals in the crowd forced entry into the Capitol. Their tactics
included breaking windows and assaulting members of the USCP.

        Shortly thereafter, at approximately 2:20 p.m., members of the House of Representatives
and Senate, including Vice President Pence, were instructed to—and did—evacuate the chambers.
Accordingly, the joint session of the Congress was effectively suspended until after 8:00 p.m. Vice
President Pence remained in the Capitol from the time he was evacuated from the Senate Chamber
until the sessions resumed.

        During national news coverage of the aforementioned events, video footage, which
appeared to be captured on mobile devices of persons present on the scene, depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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       On March 16, 2021, an FBI agent conducted an in-person interview of a witness
(hereinafter “W-1”), who identified BRADY KNOWLTON of St. George, Utah in several
photographs both inside and outside the Capitol on January 6, 2021. 1 W-1 has known
KNOWLTON for many years.

       W-1 identified KNOWLTON as the man standing outside the Capitol in the middle of the
photograph below:




In the photograph, KNOWLTON is wearing a black ski hat, tactical vest, and green jacket. W-1
also identified Patrick Montgomery to KNOWLTON’s right, wearing a baseball-style hat and
hunter green jacket. W-1 mentioned in a subsequent interview with the FBI on March 19, 2021,
that she/he has never met Montgomery, but recognized him from photographs and media coverage.
Montgomery was previously identified in this photograph by a tipster who is well-acquainted with
him. 2 W-1 stated that KNOWLTON is friends with Montgomery. W-1 also identified the man to
KNOWLTON’s left, wearing a gray jacket, gray winter hat, and tan backpack. W-1 stated that he
is KNOWLTON’s “right-hand man,” but acknowledged that she/he has never met him in-person.

      A call log obtained through a Verizon subpoena shows multiple telephone calls made
between a telephone number registered to Montgomery and a telephone number registered to
KNOWLTON both before and after January 6, 2021.

1
  W-1 and KNOWLTON are involved in ongoing, multi-year litigation against each other.
2
  Montgomery was arrested on January 17, 2021 and charged with various offenses related to his
illegal entry into the Capitol on January 6, 2021. The tipster who identified Montgomery did not
identify KNOWLTON or the other individual in the photograph.
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      W-1 also identified KNOWLTON in another screenshot that was taken from MPD body-
camera footage on January 6, 2021 outside the Capitol as shown below:




KNOWLTON is wearing the same black ski hat, green jacket, and tactical vest that he was wearing
in the photograph with Montgomery and the other individual above. He is also wearing an
American flag neck gator and appears to have the straw to a Camelback water tank protruding
from his back.

       CCTV footage from inside the Capitol on January 6, 2021, captured KNOWLTON,
wearing those same clothes, enter the building through a door on the Upper West Terrace at
approximately 2:35 p.m., as shown in the screenshot below.
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KNOWLTON appeared to have a cellular telephone in his left hand, with the camera facing out,
and appeared to be videotaping his entry into the building. The photo also captured Montgomery
standing behind KNOWLTON, wearing a hunter green jacket, baseball-style hat, and Covid mask.
Behind Montgomery, another unidentified male subject (hereinafter “S-1”) was captured wearing
a white t-shirt over a black puffy jacket, baseball-style hat, and hoodie. Based on CCTV footage,
KNOWLTON walked throughout the building with Montgomery and S-1.

       Approximately one minute later, at 2:36 p.m., CCTV shows KNOWLTON enter the
Capitol Rotunda. He stayed there for several minutes and then left the Rotunda and entered the
Rotunda Lobby at approximately 2:39 p.m. The screenshot below shows KNOWLTON in the
Rotunda Lobby. Behind him is S-1 and in the far left corner of the frame is Montgomery wearing
a baseball-style hat and Covid mask.
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       From there, KNOWLTON, Montgomery, and S-1 walked upstairs to the third floor. At
approximately 2:45 p.m., KNOWLTON was captured on CCTV inside the Senate Chamber
Gallery. He was with Montgomery, who was previously identified by a tipster inside the Senate
Chamber. S-1 was also in the Senate Chamber. The screenshot below from inside the Senate
Chamber shows KNOWLTON with a black cellphone in his left hand, likely videotaping the
scene.
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The screenshot below from the Senate chamber shows Knowlton, circled in red, with Montgomery
and S-1 identified with arrows.
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       According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident, the cellphone number registered to
KNOWLTON was identified as having utilized a cell site consistent with providing service to a
geographic area that includes the interior of the Capitol.

        Your affiant also reviewed a driver’s license photograph of KNOWLTON that appears to
be the same person.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
BRADY KNOWLTON violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
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person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that BRADY KNOWLTON
violated 40 U.S.C. § 5104(e)(2) (B), (D), (G) which makes it a crime to willfully and knowingly
(B) enter or remain in the gallery of either House of Congress in violation of rules governing
admission to the gallery adopted by that House or pursuant to an authorization given by that House;
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that BRADY KNOWLTON
violated 18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.


                                                       _________________________________
                                                       Special Agent Jeffrey Weeks
                                                       Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 1st day of April 2021.
                                                                              2021.04.01
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                                                       ___________________________________
                                                       ROBIN M. MERIWEATHER
                                                       U.S. MAGISTRATE JUDGE
